           Case 2:13-cr-00053-JAM Document 10 Filed 02/07/13 Page 1 of 4


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JASON HITT
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 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2751
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )         Mag. No. 2:13-mj-0021 EFB
                                    )
12                  Plaintiff,      )         STIPULATION AND [PROPOSED]
                                    )         ORDER CONTINUING
13             v.                   )         PRELIMINARY HEARING AND
                                    )         EXCLUDING TIME
14   OMAR VERA, et al.,             )
                                    )
15                  Defendants.     )
     _______________________________)
16
17        IT IS HEREBY STIPULATED by and between Assistant United States
18   Attorney Jason Hitt, counsel for the plaintiff United States of
19   America, and defendant Omar VERA, by and through his counsel Michael
20   Petrik, Esq., defendant Jose MORALES-CASTELLON, by and through his
21   counsel Kyle Knapp, Esq., defendant Jose ANAYA, by and through his
22   counsel Michael Hansen, Esq., and defendant Eduardo REYES, by and
23   through his counsel Ron Peters, Esq., that good cause exists to
24   extend the preliminary hearing currently set for February 11, 2013,
25   at 2:00 p.m. to February 19, 2013, pursuant to Federal Rule of
26   Criminal Procedure 5.1(d).
27        Good cause exists to extend the time for the preliminary
28   hearing within meaning of Rule 5.1(d) because each defendant has

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           Case 2:13-cr-00053-JAM Document 10 Filed 02/07/13 Page 2 of 4


 1   been provided initial discovery, including audio and video evidence,
 2   as well as written reports from meetings alleged in the Criminal
 3   Complaint.   For these reasons, the defendant agrees that a
 4   continuance of the preliminary hearing date will not prejudice them.
 5        The parties further stipulate that the ends of justice are
 6   served by the Court excluding time from February 11, 2013, to
 7   February 19, 2013, so that counsel for each defendant may have
 8   reasonable time necessary for effective preparation of the defense,
 9   taking into account the exercise of due diligence.         18 U.S.C.
10   § 3161(h)(7)(B)(iv).    Specifically, the defense agrees that it needs
11   additional time to review the discovery and engage in discussions
12   with the government regarding possible resolution of the case
13   against each defendant, effectively evaluate the posture of the
14   case, and conduct further investigation into mitigation of the each
15   defendant’s federal sentencing exposure.       Id.   For these reasons,
16   each defendant and their defense counsel, as well as the government
17   stipulate and agree that the ends of justice outweigh the best
18   interest of the public and the defendant in a speedy trial.           18
19   U.S.C. § 3161(h)(7)(A); Local Code T4.
20
21   DATED: February 6, 2013                  /s/Jason Hitt
                                              JASON HITT
22                                            Assistant U.S. Attorney
23   DATED: February 6, 2013                  /s/Jason Hitt for Mr. Petrik
                                              MICHAEL PETRIK, ESQ.
24                                            Counsel for defendant
                                              OMAR VERA
25                                            Authorized to sign for Mr.
                                              Petrik on 02-06-13
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27
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           Case 2:13-cr-00053-JAM Document 10 Filed 02/07/13 Page 3 of 4


 1   DATED: February 6, 2013                  /s/Jason Hitt for Mr. Knapp
                                              KYLE KNAPP, ESQ.
 2                                            Counsel for defendant
                                              JOSE MORALES-CASTELLON
 3                                            Authorized to sign for Mr.
                                              Knapp on 02-06-13
 4
 5   DATED: February 6, 2013                  /s/Jason Hitt for Mr. Hansen
                                              MICHAEL HANSEN, ESQ.
 6                                            Counsel for defendant
                                              JOSE ANAYA
 7                                            Authorized to sign for Mr.
                                              Hansen on 02-06-13
 8
 9   DATED: February 6, 2013                  /s/Jason Hitt for Mr. Peters
                                              RON PETERS, ESQ.
10                                            Counsel for defendant
                                              EDUARDO REYES
11                                            Authorized to sign for Mr.
                                              Peters on 02-06-13
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 1                                 O   R   D   E   R
 2        Based upon the representations by counsel and the stipulation
 3   of the parties, IT IS HEREBY ORDERED that:
 4        1.   The Court finds good cause to extend the Preliminary
 5   Hearing in United States v. Vera, et al., Mag. No. 2:13-mj-0021 EFB,
 6   from February 11, 2013, to February 19, 2013, at 2:00 p.m. pursuant
 7   to Federal Rule of Criminal Procedure 5.1(d); and
 8        2.   Based upon the representations and stipulation of the
 9   parties, the court finds that the time exclusion under 18 U.S.C.
10   18 U.S.C. § 3161(h)(7)(A) and Local Code T4 applies and the ends of
11   justice outweigh the best interest of the public and the defendant
12   in a speedy trial based upon the factors set forth in 18 U.S.C.
13   § 3161(h)(7)(B)(iv).    Accordingly, time under the Speedy Trial Act
14   shall be excluded from February 11, 2013, up to and including
15   February 19, 2013.
16
17        IT IS SO ORDERED.
18   DATE: February 7, 2013.
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